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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

  Case No. 8:17-cv-00838-JLS-JDE                                        Date: April 16, 2021
  Title: In re: Kia Engine Litigation

   Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

               Melissa Kunig                                          N/A
               Deputy Clerk                                      Court Reporter

  ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANTS:

                Not Present                                      Not Present

  PROCEEDINGS: (IN CHAMBERS) ORDER REQUESTING SUPPLEMENTAL
               BRIEFING

         Pending before the Court is the parties’ joint Motion for Final Approval of Class
  Action Settlement (Mot., Doc. 143) and Motion for Attorneys’ Fees (Mot. Fees, Doc.
  139.) In reviewing the original and supplemental briefing provided, the Court notes that
  the parties seem to have made an error regarding the claims processing information
  provided for Hyundai. Specifically, in the supplemental briefing filed on November 6,
  2020, the parties represented that, as of October 28, 2020, Hyundai had received a total of
  28,394 claims for a total face value of $29,927,810.00. (Supp. Gonnelli Decl. ¶ 8, Doc.
  164-2.) This results in an average claim value of approximately $1,050. In the further
  supplemental briefing provided a month later, however, the Manager of Recall
  Communication and Settlement for Hyundai stated that, as of December 10, 2020,
  “Hyundai has received 41,461 claims with a total face value of $29,979,908.83.” (Lee
  Decl. ¶ 3, Doc. 192-2.) The updated information includes approximately 13,000 more
  claims, but only about $52,099 in additional total claimed value—resulting in an average
  claim value of approximately $4.00 for the additional claims.
         As this seems to be an error, the Court ORDERS the parties to file supplemental
  briefing no later than Friday, April 23, 2020 at 5:00 p.m. (1) clarifying whether either
  of these supplemental filings was incorrect; and (2) providing the Court with updated
  claims processing information separated by Kia and Hyundai, including: total claims
  ______________________________________________________________________________
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  received; total face value of all claims; the number and face value of claims that have
  been approved (or tentatively approved); and the number and face value of claims that
  have been denied.


                                                              Initials of Deputy Clerk: mku




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